                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                           No: 25-1300

                              Christopher Kohls and Mary Franson

                                                      Appellants

                                                 v.

Keith M. Ellison, in his official capacity as Attorney General of Minnesota and Chad Larson, in
                  his official capacity as County Attorney of Douglas County

                                                      Appellees


______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                                (0:24-cv-03754-LMP)
______________________________________________________________________________

                                             ORDER

       Appellants’ motion for an extension of time to file the brief is granted. Appellants may

have until April 17, 2025 to file the brief and appendix.

                                                        March 12, 2025




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Susan E. Bindler




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